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                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                           FORT LAUDERDALE DIVISION
                                www.flsb.uscourts.gov


In re:
 WILSON FILS LAMY,                                Case No. 22-15722-PDR
                                                  Chapter 7
      Debtor.
 __________________________/


     TRUSTEE’S MOTION TO COMPEL (1) ACCESS TO REAL PROPERTY AND
        (2) COOPERATION FROM DEBTOR AND NON-FILING SPOUSE IN
        TRUSTEE’S EFFORTS TO MARKET AND SELL REAL PROPERTY

         KENNETH A. WELT, as the Chapter 7 trustee of the above referenced bankruptcy estate

(the “Trustee”), by and through undersigned counsel, and pursuant to 11 U.S.C. §§ 105, 704, 521,

541 and 542, files this Motion to Compel (1) Access to Real Property and (2) Cooperation from

Debtor and Non-Filing Spouse in Trustee’s Efforts to Market and Sell Real Property (the

“Motion”), and as good cause for same, states as follows:

                                       BACKGROUND

         1.    On July 26, 2022 (“Petition Date”), WILSON FILS LAMY (the “Debtor”) filed an

individual voluntary petition for relief under Title 11, Chapter 7 of the United States Bankruptcy

Code.

         2.    The Debtor’s Schedules A/B [D.E. 1] lists the Debtor’s ownership interest in real

property located at 5415 NW 22nd Street, Lauderhill, Florida 33313 (“Real Property”) with a

scheduled valuation of $467,170.00, encumbered by a secured claim of approximately

$127,647.00 in favor of Wells Fargo. See also Schedule D [D.E. 1].

         3.    Pursuant to the Warranty Deed recorded on September 26, 2006, in the Public

Records of Broward County, the Debtor and his non-filing spouse, Dorceline Lamy (“D.Lamy”)

jointly own the Real Property as husband and wife.
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       4.      The Real Property was initially claimed exempt as Debtor’s homestead in Schedule C

[D.E. 48].

       5.      On March 1, 2023, the Court entered an Agreed Order Sustaining the Objection [D.E.

55], meaning that the Debtor no longer claims the Real Property as exempt. As such, the Real Property

became non-exempt property of the Estate.

       6.      On April 23, 2023, Debtor and Trustee entered into a stipulation to compromise

controversy between Trustee and Debtor regarding Real Property and Vehicles, which was

subsequently approved by the Court on May 19, 2023 [D.E. 88].

       7.      Both the Debtor and D. Lamy have made access to the Real Property difficult for

the Trustee and his professionals by ignoring and disregarding the Trustee’s attempts to obtain

cooperation and access.

       8.      The Trustee submits this behavior may create a chilling effect on the marketing

efforts and potential offers for the Real Property.

       9.      Without belaboring the history of delays in this case, the Estate has and continues

to incur unnecessary time and expense in the Trustee’s administration of the Real Property as a

result of both Debtor’s and D.Lamy’s failure to respond or cooperate.

       10.     Accordingly, the Trustee seeks a Court Order directing D.Lamy’s and Debtor’s

cooperation in providing complete access to the Real Property to Trustee’s professionals.

                                       REQUESTED RELIEF

       11.     To maximize the potential sale price and properly market the Real Property to

potential purchasers, the Trustee requests that his professionals have unfettered access to the Real

Property.

       12.     The Trustee seeks reasonable access to the Real Property for the sole purpose of

inspecting and showing the Real Property to potential purchasers, to view the interior under strict



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supervision of the Trustee or his authorized representative.

         13.    The Trustee proposes that D.Lamy and Debtor must provide access to the Real

Property on request provided that: (a) he provide forty-eight (48) hours of notice (b) access is only

during business days between the hours of 9 a.m. to 6 p.m,; and (c) no more than 3 individuals will

be permitted inside the interior of the Real Property along with the Trustee’s professional at any

given time.

         14.    The Trustee acknowledges there may be personal property belonging to D.Lamy

and/or Debtor in the Real Property, for which the Trustee does not currently seek turnover. Any

personal property will not be disturbed by the Trustee or his representatives without further Court

order.

         15.    The Real Property is a non-exempt asset of the Estate, and possession and access

thereto, are well within the Trustee’s rights for proper administration pursuant to 11 U.S.C. §§

541, 542.

         16.    The Debtor has a duty to cooperate with the Trustee pursuant to 11 U.S.C. § 521.

         17.    For the reasons set forth in this Motion, the Trustee asserts it is in the best interests

of this Estate to obtain immediate, unfettered access to the Real Property, which requires that the

Debtor be absent during the showings of the Real Property to prospective bidders.

         WHEREFORE, Kenneth A. Welt, as Chapter 7 trustee of the bankruptcy estate of Wilson

Fils Lamy, respectfully requests this Honorable Court enter an Order: (1) granting the instant

Motion; (2) compelling Dorceline Lamy and Debtor to provide access of the Real Property to the

Trustee and his professionals as set forth herein; and (3) for such other and further relief as this

Court deems just and proper.

         Respectfully submitted this 24th day of May, 2023.

                                                DUNN LAW, P.A.
                                                Counsel for Kenneth A. Welt, Trustee

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                                            By: /s/ Paula A. Martinez
                                                Paula A. Martinez, Esq.
                                                Florida Bar No. 1017901



                                CERTIFICATE OF SERVICE

       I CERTIFY that a true and correct copy of the foregoing was served by U.S. Mail on the

20th day of June, 2017, upon the Debtor and Dorceline Lamy:

 Dorceline Baptiste Lamy                           Dorceline Baptiste Lamy
 5415 NW 22nd St.                                  1050 SW 39th Ave
 Lauderhill, FL 33313                              Fort Lauderdale, FL 33312

 Dorceline Baptiste Lamy                           Wilson Fils Lamy
 148 NW 91st Ave.                                  5415 NW 22nd St
 Pembroke Pines, FL 33024-6458                     Lauderhill, FL 33313

 Wilson Fils Lamy
 148 NW 91st Ave
 Pembroke Pines, FL 33024-6458


   I CERTIFY that a true and correct copy of the foregoing was served via Notice of Electronic

Filing (CM/ECF) on this 24th day of May, 2023, upon all registered users in this case.


                                            By:      /s/ Paula A. Martinez
                                                     Paula A. Martinez, Esq.
                                                     Florida Bar No. 1017901




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